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                     UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF FLORIDA

                     Case Number: 07-20009-CR-MARTINEZ/BANDSTRA

UNITED STATES OF AMERICA,

       Plaintiff,
vs.

STEPHANIE JOHNSON,

      Defendant.
_____________________________________/

       ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

       THIS CAUSE came before the Court upon Defendant Stephanie Johnson's (a) Motion To

Suppress [Evidence] (D.E.#51), filed February 26, 2007; and (b) Corrected Motion to Suppress

Statements (D.E.#77), filed on March 9, 2007.

        THE MATTER was referred to United States Magistrate Judge Ted E. Bandstra, and

accordingly, the Magistrate Judge conducted an evidentiary hearing on both motions on March 13, 2007.

A Report and Recommendation filed on March 14, 2007, recommending that defendant's Motion to

Suppress [Evidence] be Denied; and Defendant's Corrected Motion to Suppress Statements be Denied.

       The parties were afforded the opportunity to serve and file written objections within ten (10) days

upon receipt of the Magistrate's Report and Recommendation, and record reveals that objections were

filed by the Defendant and noted by this Court. After a de novo review of the record and Magistrate

Bandstra's well-reasoned Report and Recommendation, it is hereby:

       ORDERED AND ADJUDGED that United States Magistrate Judge Ted E. Bandstra's Report

and Recommendation of March 14, 2007 is hereby Adopted and Approved in its entirety.

       DONE AND ORDERED in Chambers at Miami, Florida, March 27, 2007.

                                                      _______________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE

Copies provided to:
U.S. Magistrate Judge Bandstra
All Counsel Of Record
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